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12-865.141-JCD                                                      February 27, 2014


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )
                                            )
                   v.                       )          No. 12 CR 865
                                            )
DUNWON LLOYD, DAVID COUSINS, and            )
MICHAEL COUSINS,                            )
                                            )
                   Defendants.              )


                        MEMORANDUM OPINION AND ORDER

       Before the court is the motion of Dunwon Lloyd to vacate his

plea agreement and withdraw his guilty plea.                  For the reasons

explained below, the motion is denied.

                                DISCUSSION

       Dunwon Lloyd moves to “vacate” his plea agreement and withdraw

his guilty plea.           The government filed a response to Lloyd’s

motion.    Lloyd was given time to file a reply brief and did not do

so.    After reading the motion and the government’s response, we

gave   Lloyd     another    opportunity    to   file    a   reply    because    the

government raised significant counterarguments.                Lloyd has filed

that reply, so the motion is now ready for ruling.

       Lloyd must show a “fair and just reason” to withdraw his

guilty plea. See United States v. Weathington, 507 F.3d 1068, 1071

(7th Cir. 2007); Fed. R. Crim. P. 11(d)(2)(B). When there has been
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a “thorough” Rule 11 colloquy (as there was with Lloyd),1 a

defendant seeking to withdraw a plea faces an “uphill battle.” See

United States v. Bennett, 332 F.3d 1094, 1099 (7th Cir. 2003).

When ruling on a motion to withdraw a guilty plea, we have three

options: permit the withdrawal of the plea, conduct an evidentiary

hearing, or deny the motion with an explanation as to why the

evidence is insufficient or incredible.               United States v. Rinaldi,

461 F.3d 922, 927 (7th Cir. 2006).

      Lloyd contends that due to ineffective assistance of counsel,

his guilty plea was not entered into knowingly or voluntarily.                       In

order to succeed on such a claim, he must “show that the advice on

which his plea was predicated not only was not within the range of

competence demanded of attorneys in criminal cases,” but also that

he was prejudiced in that “there is a reasonable probability that,

but for counsel’s unprofessional errors, the result would have been

different.”      United States v. Standiford, 148 F.3d 864, 869 (7th

Cir. 1998).      There is a “strong presumption that counsel’s conduct

falls within the wide range of reasonable professional assistance.”

United States v. Trussel, 961 F.2d 685, 690 (7th Cir. 1992)

(quoting Strickland v. Washington, 466 U.S. 668, 689 (1984)).

Lloyd asserts that his previous counsel was ineffective in two



       1/
          Lloyd, under oath, assured this court that he had read and signed the plea
agreement, that he had gone over the agreement with his attorney, and that he understood
it. (Tr. of Change of Plea Hrg. at 2-3.) During the colloquy, we discussed with Lloyd
in detail, and he admitted, the facts supporting his guilty plea. (Tr. at 4-8.)       We
asked Lloyd if he was satisfied with counsel’s representation, and he replied in the
affirmative. (Tr. at 16.)
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respects: (1) she “never adequately explained to him” that he might

be able to assert an entrapment defense; and (2) she should have

advised him not to plead guilty until this court had ruled on his

then-pending motion for discovery concerning selective prosecution.

(Lloyd’s Mot. at 2.)

Entrapment

     Lloyd maintains in his motion and affidavit in support of his

motion that counsel did not adequately explain to him that he might

be able to claim entrapment. “[W]here the alleged error of counsel

is a failure to advise the defendant of a potential affirmative

defense to the crime charged, the resolution of the ‘prejudice’

inquiry will depend largely on whether the affirmative defense

likely would have succeeded at trial.”           Hill v. Lockhart, 474 U.S.

52, 59 (1985).      To raise an entrapment defense, a defendant must

show evidence for each of the two prongs of entrapment: government

inducement of the crime and a lack of predisposition on defendant’s

part to engage in the crime.           United States v. Haddad, 462 F.3d

783, 790 (7th Cir. 2006).

     In its response, the government notes, correctly, that Lloyd’s

motion does not even attempt to articulate how the facts of this

case would form the basis of an entrapment defense. The government

argues that Lloyd would not be able to meet the inducement prong of

the defense because it was Lloyd’s co-defendant David Cousins, and

not a government agent, who initially approached Lloyd about
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robbing a drug stash house.             (Lloyd acknowledged in his plea

agreement    that   he   “was    recruited      by   David   Cousins.”)       The

government further argues that even if Lloyd could show inducement,

he would be unable to show that he lacked the predisposition to

commit the crimes. In his reply, Lloyd contends that an entrapment

defense   was   possible     because     an    undercover    government     agent

“recruit[ed] the person who recruited the [d]efendant,” and he

notes that the plea agreement stated that “David Cousins told Lloyd

that the undercover agent wanted David Cousins to assemble a crew

to rob a drug stash house.”         Lloyd adds that the undercover agent

personally met with Lloyd.         (Lloyd’s Reply at 4.)

     It is true that there is no defense of “private entrapment,”

but the Seventh Circuit has recognized a limited defense of

“derivative     entrapment”--“when        a    private   individual,     himself

entrapped, acts as agent or conduit for governmental efforts at

entrapment.”     See United States v. Hollingsworth, 27 F.3d 1196,

1204 (7th Cir. 1994).           Although Lloyd hints at this type of

defense, he fails to cite Hollingsworth or to explain how this

theory might succeed here. But even assuming that Lloyd could show

government inducement, he fails to persuade us that an entrapment

claim would have succeeded at trial because he completely fails to

address   predisposition,       even    after     the    government    presented

argument concerning this prong in its response.              Predisposition is

the prong of entrapment that the Seventh Circuit has observed is
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“often [] the more efficient place to start.”                United States v.

Pillado, 656 F.3d 754, 764 (7th Cir. 2011).2             There is evidence of

predisposition in Lloyd’s criminal history as well as the facts he

admitted during the plea colloquy, which actually show eagerness to

engage in the crime.        We doubt that there is any evidence of his

reluctance to engage in the crime, but in any event, defendant has

waived the argument.

Selective Prosecution

      On May 24, 2013, Lloyd’s previous counsel filed a motion for

discovery concerning selective prosecution, which sought entry of

an order directing the government to produce several categories of

information concerning the targeting of minority persons and the

use of informants in stash-house investigations. Less than a month

later, and before we could substantively address the motion,

counsel informed us that Lloyd wanted to plead guilty, so we set a

change-of-plea hearing.         The hearing occurred on July 17, 2013.

After the plea colloquy and the entry of Lloyd’s guilty plea, the

prosecutor asked that the discovery motion be withdrawn or denied

as moot in light of the plea.           Counsel replied that it could be

denied as moot, and we indicated that it was therefore denied as


      2/
         The “predisposition” prong requires an evaluation of several factors:
(1) the defendant’s character or reputation, including criminal history; (2)
whether the government initially suggested the criminal activity; (3) whether the
defendant engaged in the criminal activity for profit; (4) whether the defendant
showed a reluctance to commit the offense that was overcome by government
persuasion; and (5) the nature of the inducement or persuasion by the government.
United States v. Hall, 608 F.3d 340, 343 (7th Cir. 2010). “No single factor
controls, but most significant is whether the defendant was reluctant to commit
the offense.” Pillado, 656 F.3d at 766.
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moot.3    (Tr. at 17.)

       Lloyd now asserts that his previous counsel was ineffective by

failing to advise him to hold off on entering any guilty plea until

we had ruled on his pending discovery motion.             In his reply brief,

Lloyd argues that at the time he entered his plea, his previous

counsel had knowledge of “several other cases throughout the

Northern District of Illinois in which similar motions were filed

and awaiting rulings,” Reply at 6, and notes that since then, a

number of our colleagues presiding over those cases have allowed at

least some selective-prosecution discovery.

       The issue is whether a selective-prosecution defense likely

would have succeeded, and there is no indication that it would

have, even assuming that the discovery motion would have been

granted.     “[A] selective prosecution claim is a rara avis . . .

[and] the standard for proving [it] is particularly demanding.”

Reno v. American-Arab Anti-Discrimination Comm., 525 U.S. 471, 489

(1999); see also United States v. Moore, 543 F.3d 891, 899 (7th

Cir.     2008)   (defendants   claiming       selective   prosecution     face     a

“formidable obstacle”).        We agree with the government that given

the unlikely prospect of success on this defense and the strength

of the evidence against Lloyd, counsel’s advice to plead guilty and

withdraw the discovery motion was within the range of competence



      3/
         Through an oversight, this ruling was not reflected in any of the
court’s minute orders, so we will enter a separate order terminating the motion
as moot.
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demanded of attorneys in criminal cases.              It matters little that

Lloyd was unaware that similar discovery motions were pending in

other cases; he was well aware that his own motion was pending at

the time he chose to plead guilty.             Apparently, after a similar

discovery motion was granted (at least in part) by another court in

this district, Lloyd simply changed his mind about his odds with a

jury.    But that is not a “fair and just” reason for withdrawing a

guilty plea.     See United States v. Scott, 63 F. App’x 267, 270 (7th

Cir. 2003).

                                  CONCLUSION

        The motion of defendant Dunwon Lloyd to vacate the plea

agreement and withdraw his guilty plea [91] is denied.



        DATE:     February 27, 2014




        ENTER:    _________________________________________________

                  John F. Grady, United States District Judge
